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                                 THE
                  Constitution
                               OF THE

                    Association
                                   OF

                   Professional
                            Flight
                     Attendants
                      As amended by the APFAMembership
                               June 18, 2014



                                                         APPENDIX P. 25
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                                    ARTICLE VII
                              HEARINGS AND DISCIPLINARY
                                     PROCEDURES


                Section 1. GROUNDS FOR CHARGES:
                 Any member is subject to fine, suspension or expulsion, or
                 suspension from or removal from office, for any of the
                 following acts:
                  A. Failure to pay dues, assessments or penalties levied by
                      the Association;
                  B. Advocating, or working toward, the displacement of the
                      APFA as bargaining representative (providing that
                      advocating, or working toward an affiliation, merger or
                      federation of the APFA pursuant to Article XII of this
                      Constitution shall not be grounds for discipline);
                  C. Willfully acting as a strike breaker during any work
                      stoppage duly authorized by the Association;
                      (1) Notwithstanding Section 1.C, above (which provides
                            as a grounds for charges willfully acting as a strike
                            breaker during any work stoppage duly authorized
                            by the Association) APFA shall not process any
                            charge of willfully acting as a strike breaker during
                            the November 1993 strike against American
                            Airlines.
                  D. Willful violation of a Flight Attendant's Collective
                      Bargaining Agreement;
                  E. Theft or embezzlement of Association monies or
                      property;
                  F. Willful violation of an express Article of this Constitution,
                      or of a proper and express written resolution or policy of
                      the Board of Directors or the Executive Committee;
                  G. Willfully acting in a manner that causes the Association
                      to violate its legal obligations; or
                  H. Willfully bringing charges without reasonable basis
                      against another member, officer or representative of the
                      Association, should such charges be dismissed for any
                      reason by the Article VII Arbitrator designated herein, or
                      should such charges not be sustained by the Article VII
                      Arbitrator.

                Section 2. FILING OF CHARGES:
                  A. A charge may be filed by any member in good standing.
                     All charges shall be filed with the National Secretary and
                     shall be proffered in writing and shall be specific as to
                     the alleged act(s) and/or the Article(s) of this Constitution


                ARTICLE VII    HEARINGS AND DISCIPLINARY PROCEDURES        APPENDIX
                                                                               41   P. 26
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                   allegedly violated which constitute the basis of the
                   charge(s).
                B. The National Secretary shall cause a copy of the
                   charges to be served upon the accused and the accuser
                   within seven (7) days following receipt of the charges.
                   Such notification shall be by registered mail, return
                   receipt requested to their last known addresses, and
                   shall furnish the accused and the accuser a description
                   of all relevant procedures.
                C. The National Secretary shall send a copy of all charges
                   to the Executive Committee and to the Board of
                   Directors within seven (7) days following his/her receipt
                   of the charges.
                D. Time Limits:
                   (1) Charges based on Section 1.A through Section 1.F
                         of this Article VII must be filed within sixty (60) days
                         after the accuser becomes aware, or reasonably
                         should have become aware, of the alleged offense.
                   (2) Charges based on Section 1.G of this Article VII
                         may not be filed unless and until it has been
                         determined, in a separate legal proceeding (such as
                         a lawsuit), that the Association has violated its legal
                         obligations, or unless and until the Association
                         settles a legal proceeding brought against it by
                         furnishing substantial relief to an opposing party.
                         Charges based on Section 1.G above must be filed
                         within sixty (60) days after the accuser becomes
                         aware, or reasonably should have become aware,
                         of the completion or settlement of the legal
                         proceeding.
                   (3) Charges based on Section 1.H of this Article VII
                         must be filed within sixty (60) days following the
                         Article VII Arbitrator's decision which gives rise to
                         such charge(s).
                E. The accused and accuser may be represented during
                   Article VII proceedings by any individual; however, the
                   APFA will not compensate either party for attorney's
                   fees.

           Section 3. REVIEW OF CHARGES:
            At the first regularly scheduled meeting of the Executive
            Committee following receipt of charges by the National
            Secretary, the Executive Committee shall review the charges
            for timeliness, specificity and validity.
             A. Should the charges be determined to be timely, specific
                  and valid, such charges shall then be forwarded by the
                  National Secretary via registered mail, return receipt
                  requested to the Article VII Arbitrator designated herein

           42                    ARTICLE VII                                  APPENDIX P. 27
                                               HEARINGS AND DISCIPLINARY PROCEDURES
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                      within seven (7) days following such Executive
                      Committee meeting.
                   B. Charges deemed untimely by the Executive Committee
                      will be dismissed without appeal.
                   C. Charges deemed non-specific by the Executive
                      Committee shall be referred back to the accuser. The
                      accuser may resubmit, one time only, such charges to
                      the National Secretary for review by the Executive
                      Committee at its next regularly scheduled meeting
                      without affecting the time limits of Section 2.D of this
                      Article VII.
                   D. Charges may be deemed invalid and dismissed if the
                      Executive Committee determines that the charges
                      address conduct protected by this Constitution and/or by
                      law (including the LMRDA Bill of Rights). Charges may
                      also be deemed invalid and dismissed if they fail to state
                      a proper claim under Section 1 of this Article VII. Should
                      such charges be dismissed as invalid, the accuser may,
                      within seven (7) days following receipt of notification of
                      dismissal by the Executive Committee, appeal to the
                      Article VII Arbitrator designated herein. If the Article VII
                      Arbitrator determines that the charges are valid, s/he
                      shall so advise the National Secretary, the accused and
                      the accuser, and the charges will be processed in
                      accordance with this Article VII.

                Section 4. SUSPENSION FROM OFFICE:
                  A. If charges are filed against a national officer or elected
                     representative based on Section 1.B, Section 1.C or
                     Section 1.E of this Article VII, the Board of Directors may
                     determine at any time during the pendency of the
                     charges that the alleged conduct giving rise to the
                     charges threatens the APFA's vital interests. The Voting
                     Board of Directors may then, by two-thirds (2/3) vote,
                     suspend the accused's authority as national officer or
                     elected representative until the threat is removed or the
                     Article VII Arbitrator designated herein resolves the
                     charges, whichever occurs sooner.
                  B. A national officer or elected representative suspended
                     pursuant to this section shall be entitled, upon demand,
                     to an expedited resolution of the charges, with a decision
                     rendered within thirty (30) days following the Board of
                     Directors Meeting where the officer or elected
                     representative was suspended.
                  C. If the charges are filed by or against a member of the
                     Executive Committee or the Board of Directors, such
                     member must appoint an alternate member of the
                     Association to participate in the review of the charges as

                ARTICLE VII   HEARINGS AND DISCIPLINARY PROCEDURES        APPENDIX
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                    provided in Section 3 of this Article VII and, when
                    necessary, to participate in the vote regarding the
                    suspension of the member of the Executive Committee
                    or Board of Directors as provided in this Section 4.

           Section 5.           APPOINTMENT OF
                                THE ARTICLE VII ARBITRATOR:
                A. The Board of Directors shall appoint an arbitrator to
                   resolve all charges filed under this Article VII. The
                   Article VII Arbitrator, once appointed, shall serve until
                   s/he resigns or until the Board of Directors determines to
                   appoint a new Article VII Arbitrator.
                B. The Board of Directors may also appoint one or more
                   alternate Article VII Arbitrators who shall have the
                   authority to hear and decide particular charges when the
                   Article VII Arbitrator is not available.
                C. C. The Article VII Arbitrator and any alternate Article VII
                   Arbitrator(s) shall be a person expert in labor law who is
                   a neutral (such as an academic or professional labor
                   arbitrator), who has experience as a neutral in
                   adjudicating internal labor organization disputes, and
                   who has no other prior or current involvement with the
                   APFA.

           Section 6.           JURISDICTION AND AUTHORITY OF
                                THE ARTICLE VII ARBITRATOR:
                A. The Article VII Arbitrator shall have power to resolve all
                   charges referred to him/her during his/her tenure.
                B. The administrative procedures for handling Article VII
                   charges shall be included in the APFA Policy Manual.
                   The Article VII Arbitrator may from time to time propose
                   changes in these administrative procedures, and such
                   changes shall become effective and included in the
                   Policy Manual if they are approved by the Board of
                   Directors. The administrative procedures to be adopted
                   shall be in general compliance with American Arbitration
                   Association rules where practicable, but may not conflict
                   in any respect with the provisions of this Constitution.
                C. The Article VII Arbitrator may, on his/her own motion or
                   upon motion filed by the accused, declare that charges
                   are untimely or do not allege a violation cognizable as
                   charges under this Article VII and thus are dismissed
                   without the need for hearing.
                D. The Article VII Arbitrator may, on his/her own motion, or
                   upon motion filed by the accused, determine that
                   charges are not sufficiently specific and that they will be
                   dismissed unless the accuser amends them to provide
                   sufficient specificity.

           44                    ARTICLE VII                                  APPENDIX P. 29
                                               HEARINGS AND DISCIPLINARY PROCEDURES
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                   E. The accused may move for summary dismissal of the
                      charges on the ground that the accuser does not have
                      evidence sufficient to sustain the charges and thus there
                      is no need for a full hearing. On receipt of such a
                      motion, the Article VII Arbitrator shall afford the accuser
                      an opportunity to identify evidence that would sustain the
                      charges. If the Article VII Arbitrator concludes, following
                      that opportunity, that the accuser does not have
                      evidence sufficient to sustain the charges, the Article VII
                      Arbitrator may grant summary dismissal of the charges.
                   F. If at any time during the pendency of the charges, the
                      Article VII Arbitrator determines (whether on his/her own
                      motion or the motion of the accused) that the conduct
                      furnishing the basis for the charges is protected by this
                      Constitution and/or by law (including the LMRDA Bill of
                      Rights), the Article VII Arbitrator shall have the authority
                      to dismiss the charges addressed to such protected
                      conduct.
                   G. No ex-parte communication may be had with the Article
                      VII Arbitrator either by the accused, the accuser or by
                      the APFA, or any member of the APFA except with
                      respect to scheduling, location and like administrative
                      matters.
                   H. The decision of the Article VII Arbitrator shall be final and
                      binding upon the accused and the accuser.

                Section 7. COSTS:
                  A. Initial costs of the Article VII proceedings shall be borne
                     by the APFA in accordance with the provisions of Article
                     V of this Constitution.
                  B. In the event a charge is dismissed by the Article VII
                     Arbitrator, or in the event the Article VII Arbitrator does
                     not sustain a charge, up to one-half (1/2) of the fees and
                     expenses of the Article VII Arbitrator and all
                     administrative costs to the APFA relative to that charge
                     may be levied against the accuser by the APFA upon
                     completion of charge proceedings brought under Section
                     1.H of this Article VII.
                  C. In the event the Article VII Arbitrator sustains a charge,
                     costs of the proceedings shall be paid by the APFA and
                     may be offset by a fine levied against the accused in an
                     amount determined by the Arbitrator, if a fine was
                     requested by the accuser.
                  D. In the event that it becomes necessary to enforce an
                     Article VII Arbitration award through judicial proceedings,
                     attorney's fees for those judicial proceedings may be
                     paid or reimbursed by the APFA to the appropriate party
                     seeking such enforcement.

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                                                                              45   P. 30
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           Section 8. INTERNAL REMEDIES:
            Members, officers and representatives shall exhaust internal
            remedies under this Article VII for a period not to exceed four
            months prior to taking any legal action against members,
            officers or representatives of the APFA with respect to
            matters cognizable as charges under this Article VII.




           46                 ARTICLE VII                                  APPENDIX P. 31
                                            HEARINGS AND DISCIPLINARY PROCEDURES
                                                                                                             FILED
                                                                                                1/14/2022 11:48 AM
                                                                                   Justice of the Peace, Precinct 3
                                                                                                    Tarrant County
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                                                JP03-22-DC00017757
                                 NO.




DIVERSIFIED CREDIT SYSTEMS,                        §   IN THE JUSTICE           0F THE PEACE
ASSIGNEE FOR THE "ASSOCIATION                      §   COURT
OF PROFESSIONAL FLIGHT                             §
ATTENDANTS"                                        §
Plaintiff,                                         §
                                                   §
V.                                                 §   NO. 3
                                                   §
ROBERT (BOB) ROSS                                  §
Defendant.                                         §   TARRANT COUNTY, TEXAS

                               PLAINTIFF'S ORIGINAL PETITION

T0 THE HONORABLE JUDGE 0F SAID COURT:
         NOW COMES Diversied            Credit Systems, Assignee Of a cont-act (Agreement) 'om

the Association of Professional Flight Attendants, hereinafter called
                                                                        Plaintiff, complaining of and

about Robert (Bob) Ross, hereinafter called Defendant, and for cause of action shows unto the

Court the following:

                             DISCOVERY CONTROL PLAN LEVEL
         1.    Plainti'    intends that discovery be conducted under Discovery Level 3.

                                     PARTIES AND SERVICE
         2.    Plainti‘,    Diversied    Credit Systems (a D/B/A of McGaughey, Reber and

Associates, 1110.), Assignee for the "Association of Professional Flight Attendants", is a business

entity operating in the State of Texas and whose address is P.O. Box 3424, Longview, TX

75606.

         3.    Diversied      Credit Systems, Assignee of the Association of Professional Flight


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Attendants has not been issued a driver's license. Diversied         Credit Systems, Assignee of the

Association of Professional Flight Attendants has not been issued a social security number.

         4.       Defendant Robert (Bob) Ross, an Individual who is a nonresident of Texas, may

be served with process at his home at the following address:          4701 Hayloft Court, E1 Dorado

Hills, CA 95762. Service of said Defendant as described above can be effected by certified mail,

return receipt requested.

                                     JURISDICTION AND VENUE
         5.       The subject matter in controversy is within the jurisdictional limits ofthis court.

         6.       Plaintiff seeks:

                  a.      only monetary relief of $10,000.00 or less, excluding interest, and attorney

fees and costs.

         7.       This court has jurisdiction over Defendant Robert (Bob) Ross, because said

Defendant at the time he purposefully availed himself of the privilege of conducting activities in

the state of Texas was a Texas Resident and resided in Tan'ant County, Texas,               Defendant

executed the attached Transition Agreement (hereinafter referred to as the "contractual

Agreement" or "Agreement") with the Board of Directors for the "Association of Professional

Flight Attendants", who thereafter assigned the contractual Agreement to Plaintiff to collect

certain sums due and owing pursuant to the Agreement.

         8.       Plaintiff would also show that the cause of action arose 'om        or relates to the

contacts of Defendant Robert (Bob) Ross to the state of Texas, thereby conferring specic

jurisdiction with respect to said Defendant.

         9.       Plaintiff would further show that the Agreement was to be performed in Tarrant

Texas.



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         10.     Venue in Tarrant County is permissive in this cause under Section 15.002(a)(3) of

the Texas Civil Practice and Remedies Code because this county was the
                                                                               principal residence of

Robert (Bob) Ross, Defendant at the time he signed the Agreement.              Defendant resided in

Southlake, Tarrant County, Texas at the time he executed the Agreement, and therefore, Venue is

property in Justice of the Peace, Precinct 3, Tarrant County, Texas.

                                    FACTUAL ALLEGATIONS
         11.     0n or about March 1, 201 8, the Association of Professional Flight Attendants

(hereafter referred to as      "AFPA") entered into a written contract with Robert (Bob) Ross,

providing that Defendant would receive certain funds listed in the contract.          A copy of the
contract is attached as Exhibit "A" and incorporated by reference and for all purposes.

        12.      The Contract has been assigned to the Plaintiff, Diversied    Credit Systems, for all

purposes by Assignor AFPA, but primarily for the purpose of collection of the amounts owed

Plaintiff.

                                     BREACH 0F CONTRACT
        13.      Plaintiff incorporates by reference the allegations set forth above as if the same

were fully set forth herein.

        14.      Plaintiffs Assignor, APFA has met all of its obligations under the Transition

Agreement (Contract) and all sums due Defendant were fully paid and accepted by Defendant.

        15.      All contractual obligations of the Association of Professional Flight Attendants
have been illy    performed.

        16.      Defendant has failed to perform his contractual obligations, specically,           an

accounting was performed by the Certied      Public Accounting rm      of Wood, Stephens & O'Neil.

A copy of that rms     audit showed that Defendant had been paid in excess of the sums due him




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under'the Agreement in the sum of $5,436.47. The rms        Audit report is attached as Exhibit "B"

and attached for all purposes.

        17.     The APFA made demand on Defendant's to reimburse Plainti‘                   for the

overpayments.    A copy of the accounting and Memorandum 'om          the accountant is attached as

Exhibit "B" and incorporated for all puxposes herein.          Defendant has been provided the

accounting and the Accounting nns      report, but Defendant has failed to reimburse APFA for the

overpayments.

        18.   Documentation and demand has been provided Defendant on multiple occasions,

including om    APFA, Assignee, Diversied     Credit Systems and the undersigned Attorney.

                                           DAMAGES
        l9.     Plaintiff has sustained damages within the Comt's jurisdictional limits of this

Court, and as a result of the actions and/or omissions of Defendant described hereinabove,

including, but not limited to:

                Actual or economic damages for $5,436.47.

                                 OTHER RELEF REQUESTED
                                      ATTORNEY'S FEES
       20.      Request is made for all costs and reasonable and necessary attorney's fees

incurred by or on behalf of Plaintiff herein, including all fees necessary in the event of an appeal

ofthis cause to a County Court at Law, Court of Appeals and the Supreme Court of Texas, as the

Court deems equitable and just, as provided by Chapter 38 of the Texas Civil Practice and

Remedies Code.

                                 ALTERNATIVE ALLEGATIONS
       21.      Pursuant to Rules 47 and 48, Texas Rules of Civil Procedure and the rules of




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pleadings, allegations in this petition are made in the alternative.




                                              PRAYER
         WHEREFORE, PREMISES CONSIDERED, Plaintiff, Diversied                        Credit Systems,

Assignee of the Association of Professional Flight Attendants, respectfully prays that the

Defendant be cited to appear and answer herein, and that upon a nal            hearing of the cause,

judgment be entered for the Plaintiff against Defendant for damages requested hereinabove in an

amount within the jurisdictional limits of the Court, together with prejudgment and postjudgment

interest at the maximum rate allowed by law, attorney's fees, costs of court, and such other and

irther   relief to which the Plaintiff may be entitled at law or in equity, Whether pled or unpled.


                                               Respectllly   submitted,

                                               /S’/                    R.
                                               Michael R. Rake, Attorney at Law, PLLC
                                               State Bar # 16487600
                                               P.O. Box 1556, Lake Dallas, TX 75065
                                               Tel. & Fax: 940-498-2103
                                               E-mail: mrake1@mrakeattorney.com

                                               Attorney for:
                                               Diversied     Credit Systems, Assignee of the
                                               Association of Professional Flight Attendants




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                                    TRANSITION AGREEMENT
           This TRANSITION AGREEMENT (here
                                                   inafter referred to as the "Agreement“) is
 entered into between President ROBERT ROSS
                                                      (hereinafter referred to as "ROSS"), and
 the ASSOCIATION OF PROFESSIONAL FLIG
                                                  HT A'ITENDANTS. through its Votin Board
                                                                                         g
 of Directors and on behalf of        and  all  of its ofcers, directors, empl
                                 any                                             oyees. agents,
 members,   and  attorneys, in their ofcial and individual capacities
                                                                          , together with their
 successors both jointly and severally (here
                                             inafter collectively and individually referred to as
“APFA”).
           WHEREAS, President ROSS and APFA. through its Votin Board of
                                                              g         Directors, find it
mutually benecial     and in the best interests of the
                                                         membership to enter into this Transition
Agreement; and
       WHEREAS, President ROSS has previously announced his intention
                                                                      not to seek re-
election for APFA President, and as such the
                                             parti have   es         agreed on the terms of this
Agreement.
       NOW THEREFORE, ln consideration of the mutu
                                                                al covenants contained in this
Agreement, President ROSS and APFA (here        inafter collectively referred to as "the Parties"),
intending to be legally bound. do hereby
                                        stipulate and agree as follows:
       1.       ROSS hereby voluntarily and irrevocably
                                                         resigns from his   position as the
               National President of APFA effective at the
                                                                close of the 2018 APFA
               Convention, and agrees to announce his resig
                                                            nation by the close as well.
      2.       ROSS will have access through the close of business on
                                                                       March 9, 2018 to his
               APFA ofce, les, and computer to naiiz'e his affairs.
                                                                         Starting upon the
               announcement of the resignation, all
                                                   emails, telephonic calls, correspondence
               and affairs regarding or directed to the APFA
                                                                National President shall be
               immediately routed to the successor APFA National President.
      3.       APFA agrees that ROSS will continue to receive from APFA
                                                                                 his current full
               salary and benets,   Including full insurance coverage. throu
                                                                             gh July 31, 201 8.
     4.        APFA agrees to pay ROSS all of his accrued and unused
                                                                               sick and accrued
               and unused vacation time, from
                                                April 1, 2016 through July 31, 2018.
     5.        APFA agrees to pay Ross, upon his reque
                                                           st, a one—time lump sum in the total
               amount of ten thousand dollars
                                             ($1 0,000.00), which represents ROSS’s
               moving expenses. ROSS shall present the movi
                                                            ng expenses to APFA for

  Page 1 of4                            '-



                                                EXHIBIT                    March 1. 201810
                                        .
                                                                 I




                                                I13”                       APPENDIX P. 37
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                 payment through 201 9.
         6.     APFA and ROSS will each prepare a communication
                                                                               regarding ROSS's
                 resignation.   APFA shall disseminate said communications
                                                                                   simultaneously
                upon the announcement of the resig     nation. Each statement shall be mutually
                agreed upon by both Parties prior to its distribution. Furth
                                                                               er, the Parties will
                mutually agree on talking points that shall be used for
                                                                           responses to inquiries
                from APFA members. the press and the
                                                 ,          general public for use, beginning with
                the announcement.
     7.         The Parties agree that the existence, terms, and content
                                                                           ofthis Agreement are
                completely condential.    ROSS agrees not to disclose the existence, term
                                                                                             s, or
                content of this Agreement to any third
                                                         party, except to his spouse, accountant.
               nancial   advisers, or attorney. APFA agrees not to disclose the
                                                                                        existence,
                terms, or content of this Agreement, except to the
                                                                              signatories to this
                Agreement,   and  to any APFA ofcers, empl
                                                               oyees, accountants or attorneys
                who have an explicit need to know of this
                                                            Agreement in' order to eectuate its
                terms. The Parties shall be respo
                                                       nsible for ensuring in writing" that the
                condentiality provisions of this Agreement are
                                                                 fully eXplained and adhered to
                by anyone to whom permitted disclosures are made
                                                                                pursuant to this
                paragraph. The Parties agree that they will respond to all
                                                                              inquiries regarding
               Ross’ transition with APFA in accordance with the comm
                                                                          unications and talking
               points prepared pursuant to numbered paragraph 6 of this
                                                                             Agreement.
    8.         ROSS agrees not to make, orally or in writin
                                                                g, any statements disparaging
               APFA and/or the Board of Directors, whether or not such state
                                                                                   ments legally
               constitute libel or slander, and whether such
                                                                  statements are made to the
              media, to other individuals, or othenlvise. Likewise, APFA's Boar
                                                                                  d of Directors,
              and its ofcers, employees and
                                                  agents who are aware of this Agreement
              pursuant to the condentiality provisions oi numbered
                                                                           paragraph 7 of this
              Agreement, agree not to make, orally or in writing, any statements
                                                                                     disparaging
              ROSS or his immediate family, whether or not such
                                                                            statements legally
              constitute libel or slander, and whether such state
                                                                       ments are made to the
              media, to other individuals, or otherwise.




 Pagez on                                                                 March 1,201s:1.o


                                                                          APPENDIX P. 38
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       9.        The current APFA National Vice-President will be included in all discussions
                 with the APFA Board of Directors regard
                                                            ing the lling    of the APFA National
                 Vice-President position.
       10.       The Parties and signatories to this Agreement have
                                                                                carefully read and
                 understand this Agreement and acknowledge that no
                                                                             party has made any
                 representations other than those contained herein.
       11.       The Parties agree that this Agreement constitutes their nal         and complete
                 understanding with respect to the subject matter hereof and supersedes all
                 prior   or   contemporaneous     negotiations,     promises,                    or
                                                                                  agreements
                 representations concerning any matters directly. Indirectly, or
                                                                                 collaterally
                 related to the subject matter of this Agreement. This
                                                                       Agreement may be
                executed in counterparts, each of which shall constitute an
                                                                                original, and all of
                which together shall constitute one and the same
                                                               Agreement. Electronic and
                facsimile copies shall constitute originals for all
                                                                    purposes, including
                enforcement.
      12.       The Parties agree thatthis Agreement cannot be amended or modied
                                                                                             except
                by express written consent of the Parties hereto.
      “l3.      The Parties agree to submit any and all disput
                                                                    es regarding the validity or
                enforcement of this Agreement to a mutually chosen arbitrator whose
                                                                                           decision
                shall be binding on both Parties. The expenses of the arbitrator shall
                                                                                          be borne
                by APFA. Venue shall be by agreement of the parties.
     14.     if any provision, or any part thereof, in this Agreement is found to be invalid
                                                                                                  ,
                such determination shall not affect the validity of
                                                                      any other provision(s) or
                part(s) of this Agreement.
     15.     The terms and conditions of this Agreement shall be
                                                                      binding upon the Parties’
             successors and assigns.

     lN WlTNESS WH EREOF, APFA and President ROSS have
                                                                      executed this agreement




                                                  __szl_z,LLe____
                                                  Date


  Page 3 of 4                                                               March 1. 201 8:1.0


                                                                            APPENDIX P. 39
     Case 4:22-cv-00430-Y Document 56-1 Filed 11/09/22                     Page 40 of 71 PageID 3022



      BY APF ‘                       ITS VOTING BOARD OF DIRECTORS):


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                                                       Date


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     ’abert Valenta- ICA—AA                           Date
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     Maureen Walsh Martin -DFW
                                                              an            Kg
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     John   ikides—LAX         .—-
                                                      Date

                                                             ’b 1/              g   / 8’
      aymond
               Lw                                     Date




 'Kim Kaswinkel— PHL                                 Date
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               .               er                             5i   1   1   IQ
 Mischa! Babi      —-
                        PHX.                         Date




Matt Faust H STL                                     Date




       Page 4 of 4
                                                                                    March 1, 2018:1.0


                                                                                    APPENDIX P. 40
Case 4:22-cv-00430-Y Document 56-1 Filed 11/09/22                 Page 41 of 71 PageID 3023

  WOOd , Stephens &                                      6300 Ridglea Place, Suite 318
                                                         Fort Worth, TX 76116
  O’Neil, L.L.P.                                         Tele. 817-377-1700
  Certified Public Accountants                           Fax 317-377-1870




                             CONFIDENTIAL MEMORANDUM
 MEMO T0:                APFA Board of Directors and the Executive Committee
 FROM:                   Hal O’Neil, CPA, Pam Bush
 SUBJECT:                Review of officer disbursements and the Bob Ross transit
                                                                                  ion agreement
 DATE:                   October 22, 2020


     The current APFA ofcers. in consultation with the APFA staff
                                                                  attorney and outside counsel,
 requested that our rm review specic former ofcer expen
                                                               se reimbursements and payroll
 disbursements, as weil as the payments arising from the Bob Ross
                                                                          confidential transition
 agreement. This informal engagement is substantially less in        than an audit engagement,
 the objective of which would be the
                                                              scope
                                          expression of an opinion regarding these specic
 disbursements. Accordingly, we do not
                                        express an opinion or any form of assurance regarding
 these disbursements. Our task under this informal
                                                   engagement, was as follows:
 1.   To review the backup for the former ofcers’
                                                  salary disbursement amounts from 2016 - 201 8
      and to determine these base salaries were calculated
                                                             correctly and in compliance with the
      guidelines and pay rates stipulated in the APFA policy manual. Please see the
      schedule A for each ofcer.                                                        enclosed

2. To prepare an overpayment schedule of the accrued and
                                                                unused sick, and accrued and
   unused vacation time payments made to Bob Ross in 201
                                                                  8, similar to the overpayment
   schedules we prepared previously for the other three ofcers.
                                                                       Please see the enclosed
   schedules B and C for each officer. These
                                                overpayment schedules for the other ofcers
   were previously provided to the Board of Directors. Please note
                                                                       the Bob Ross condential
   transition agreement states that he will be      all of his
                                               paid            accrue   d and unused sick, and
   accrued and unused vacation time. This                doesn 't
                                             agreement             specify that the payments be
   made in accordance with the policy manual
                                                  guidelines. Consequently. these payments
   appear appropriate and in compliance with the transition agreem
                                                                      ent. This agreement also
   species reimbursement payments to him of up to $10,000 in actual
                                                                          moving expenses. His
   moving expense reimbursement payments did not exceed this amount.

3. To assist the APFA accounting
                                 department staff in reviewing and organizing the various
   requested documents, as set forth in the ight    attendants Chinery and Lee nancial
   document request.

      Please contact us should the Board of Directors or the Executive Comm
                                                                            ittee have questions
regarding our limited engagement.

                                                    Sincerely,

                                                   ‘Haz ON’eiz, CPA


                                                                         APPENDIX P. 41
Case 4:22-cv-00430-Y Document 56-1 Filed 11/09/22                                                                         Page 42 of 71 PageID 3024




                                                              C

          National Ofcer:             Bob Russ


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                                          dag per agreement}
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Case 4:22-cv-00430-Y Document 56-1 Filed 11/09/22                                        Page 43 of 71 PageID 3025
                                     A!ii!fiDciatian of Profe!fi!fiional
                                             Flight Attendant!fi
                                           Representing the Flight Attendants of AmericanAir1ines




December 8, 2020



Eugenio Vargas
1616 Brookhaven Cir
Bedford, TX 76022

RE: Article Vil Charges

Dear Mr. Vargas:

In accordance with Article VII, Section 3 of the APFA Constitution, at its meeting on December
1, 2020, the APFA Executive Committee reviewed the Article VII Charges filed against you by
Melissa Chinery and Sandra Lee. The Executive Committee found them to be timely, specific,
and valid. Enclosed are copies of the Resolutions of the Executive Committee regarding those
charges.

Therefore, per Article VII, Section 3.A, I have forwarded the enclosed Charges to the Article VII
Arbitrator.

Section 17.S of the Policy Manual sets forth the policy regarding communications with the
Arbitrator.

Please contact me via email if you have any questions.

Sincerely,




Cc:    Melissa Chinery
       Sandra Lee
       APF A Board of Directors
       APFA Executive Committee
       Article VII File


                            1004 West Euless Blvd            •    Euless. Texas 76040

                     Tel: [B17] 540-010B     •   Fax, [B17) 540-2077               •   www.apfa.org
                                                                                                    APPENDIX P. 43
                                                       �·
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                                                    APFA
                            EXECUTIVE COMMITTEE MEETING
                                               3Q20 EC MEETING
                                                 December 1-2, 2020
                                         APFA Unity Pays Conference Room
                                                    Euless, TX

             Resolution #: 9                                     Resolution Name: Chinery-Lee v Vargas• Valid

             Maker:          Black                               YES     = Yes         ABS = Abstain          PXY = Pro Vote
                                                                 NO      = No          NIA       = Absent     REC = Recuse
             Second:        Watson                               PASS = Pass
             Date:           12/01/2020
             Time:           2:02 p.m.




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                     YES:   9            NO:    0    ABSTAIN:      0        ABSENT:          0

       Status: Passed       (3)      Failed     □       Tabled    D        Withdrawn     D           Show of Hands     D

     WHEREAS, on November 20, 2020, Melissa Chinery and Sandra Lee filed charges against
     Eugenio Vargas under Article VII of the APF A Constitution; and

     WHEREAS, Article VII, Section 3 of the APF A Constitution provides that the Executive
     Committee shall review Article VII charges for validity, and

     WHEREAS, the Executive Committee has conducted that review.

     BE IT THEREFORE RESOLVED, that Melissa Chinery's and Sandra Lee's November 20,
     2020 charges against Eugenio Vargas are valid.




        EC Resolution #9                            December 1-2, 2020                                               Page 1 of 1


                                                                                         APPENDIX P. 44
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                                                 APFA
                            EXECUTIVE COMMITTEE MEETING
                                        3Q20 EC MEETING
                                           December 1-2, 2020
                                     APFA Unity Pays Conference Room
                                                Euless, TX

             Resolution #: 8                                  Resolution Name: Chinery-Lee v Vargas • Specific

             Maker:         Black                             YES = Yes                ABS = Abstain     PXY =     Pro Vote
                                                              NO   = No                N/A = Absent      REC =     Recuse
             Second:        Watson                            PASS = Pass
             Date:          12/01/2020
             Time:          2:00 p.m.




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                     YES:   9         NO:    0    ABSTAIN:      0            ABSENT:      0

       Status: Passed       �       Failed   D       Tabled    D       Withdrawn         D      Show of Hands     D

     WHEREAS, on November 20, 2020, Melissa Chinery and Sandra Lee filed charges against
     Eugenio Vargas under Article VII of the APFA Constitution; and

     WHEREAS, Article VII, Section 3 of the APFA Constitution provides that the Executive
     Committee shall review Article VII charges for specificity, and

     WHEREAS, the Executive Committee has conducted that review.

     BE IT THEREFORE RESOLVED, that Melissa Chinery's and Sandra Lee's November 20,
     2020 charges against Eugenio Vargas are specific.




        EC Resolution #8                         December 1-2, 2020                                             Page 1 of 1


                                                                                         APPENDIX P. 45
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                                                     APFA
                            EXECUTIVE COMMITTEE MEETING
                                                3Q20 EC MEETING
                                                December 1-2, 2020
                                         APF A Unity Pays Conference Room
                                                     Euless, TX

             Resolution #: 7                                        Resolution Name: Chinery-Lee v Vargas • Timely

             Maker:          Black                                  YES       = Yes               ABS = Abstain       PXY =     Pro Vote
                                                                    NO        = No                NIA = Absent        REC =     Recuse
             Second:         Seelye                                 PASS      = Pass
             Date:           12/01/2020
             Time:           1:57 p.m.




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                     YES:   9            NO:     0      ABSTAIN:          0           ABSENT:        0

       Status: Passed       ig]       Failed    □          Tabled     □         Withdrawn           □        Show of Hands     □
     WHEREAS, on November 20, 2020, Melissa Chinery and Sandra Lee filed charges against
     Eugenio Vargas under Article VII of the APF A Constitution; and

     WHEREAS, Article VII, Section 3 of the APFA Constitution provides that the Executive
     Committee shall review Article Vll charges for timeliness, and

     WHEREAS, the Executive Committee has conducted that review.

     BE IT THEREFORE RESOLVED, that Melissa Chinery's and Sandra Lee's November 20,
     2020 charges against Eugenio Vargas are timely.




        EC Resolution #7                               December 1-2, 2020                                                    Page 1 of 1


                                                                                                    APPENDIX P. 46
Case 4:22-cv-00430-Y Document 56-1 Filed 11/09/22   Page 47 of 71 PageID 3029
                         Melissa Chinery      9/14/2021
                                                                     Page 221

1                      THE ARBITRATOR:      Please have a seat.
2    State your name, your position for the record.
3                      MR. HARRIS:     My name's Erik Harris and
4    I'm the APFA Treasurer.
5                                ERIK HARRIS,
6    having been first duly sworn, testified as follows:
7                            DIRECT EXAMINATION
8    BY MS. LEE:
9         Q.     Hi, Erik.
10        A.     Hello.
11        Q.     Okay.    I'll start with the obvious.          What is
12   your name?
13        A.     Erik Harris.
14        Q.     Where are you employed, Erik?
15        A.     I'm employed for APFA right now, but also an
16   American Airlines Flight Attendant.
17        Q.     Okay.    What is your position at APFA?
18        A.     National Treasurer.
19        Q.     How long have you been employed at APFA?
20        A.     Since April 2020.      April 1st.      Employed at
21   APFA.
22        Q.     At American Airlines?
23        A.     American since May 2014, yes.
24        Q.     Okay.    Did you hold any positions with APFA
25   during your career, other positions?



               Carson Reporting & Associates          214.346.3434
                                                         APPENDIX P. 47
Case 4:22-cv-00430-Y Document 56-1 Filed 11/09/22   Page 48 of 71 PageID 3030
                         Melissa Chinery      9/14/2021
                                                                     Page 222

1         A.     Yes.
2         Q.     Could you tell us about those?
3         A.     Okay.    Started contract and scheduling
4    representative.       I was a health department rep, IOD
5    department rep, safety and security department rep, a
6    BCR Philadelphia, budget committee member, and national
7    contract chair.       I might have forgot something.
8         Q.     In your role as National Treasurer, have you
9    been responsible for responding to requests to see
10   financial information?
11        A.     Primarily, yes.
12        Q.     I've got to back up.       To your knowledge, has
13   an incoming Officer who has chosen to relocate to DFW
14   or Dallas been able to purchase outgoing furniture?
15        A.     Incoming --
16        Q.     The furniture of an outgoing Officer per
17   policy?
18        A.     Would the incoming be able to purchase that?
19        Q.     Would the incoming -- incoming Officer who has
20   chosen to relocate, not living --
21        A.     Oh, relocate --
22        Q.     -- in corporate --
23        A.     -- okay.
24        Q.     -- housing --
25        A.     Okay.    That's the requirements.



               Carson Reporting & Associates          214.346.3434
                                                         APPENDIX P. 48
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                         Melissa Chinery      9/14/2021
                                                                     Page 223

1         Q.     Okay.    Not living in corporate housing,
2    they've chosen to relocate, has that incoming Officer
3    or have they ever been able to purchase the furniture
4    of an outgoing Officer per policy, do you know?
5         A.     I don't know.     I've not since my -- since me
6    being here, that hasn't happened.
7         Q.     Okay.    Okay.   Okay.    We'll move on.       I'm going
8    to reask this question.         In your role as National
9    Treasurer, have you been responsible for responding to
10   requests to see financial information?
11        A.     Yes.
12        Q.     Did you see requests for -- from Melissa and
13   myself?
14        A.     Yes.
15        Q.     To come down and see financial records?
16        A.     Yes.
17        Q.     And did you set up times for us to see the
18   information?
19        A.     Yes.
20        Q.     Approximately how many times did we come down
21   to review the information?
22        A.     I would say since we -- since I came into the
23   office --
24        Q.     Approximately?
25        A.     -- five to 10.



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                                                         APPENDIX P. 49
Case 4:22-cv-00430-Y Document 56-1 Filed 11/09/22   Page 50 of 71 PageID 3032
                         Melissa Chinery      9/14/2021
                                                                     Page 224

1         Q.     Five to 10?
2         A.     Yeah.
3         Q.     So you've been present with both Melissa and
4    myself when we came down?
5         A.     The majority, yes.
6         Q.     Okay.    If you weren't present, who was
7    present?
8         A.     The assistant to the Treasurer, Robert
9    (unintelligible).
10        Q.     Who was Treasurer before you took office?
11        A.     Craig Gunter.
12        Q.     And before him?
13        A.     Eugenio Vargas.
14        Q.     When you came into office, how would you
15   describe the state of the Union financial records?
16        A.     They were very bad.
17        Q.     Could you elaborate?
18        A.     The -- there were pay loss bills behind.
19   There was a lot of overspending and just -- just not
20   very well kept books in general.
21        Q.     Do you think the financial records that you
22   were supposed to keep for what we think is five years,
23   were they there?       Did you have an opportunity to look?
24        A.     I didn't look thoroughly, but I -- when I did
25   look, there were a lot of things missing or not -- not



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                                                         APPENDIX P. 50
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                          Melissa Chinery     9/14/2021
                                                                     Page 225

1    there --
2          Q.     Okay.
3          A.     -- were not kept well.
4          Q.     We'll get further into that.         What is the
5    obligation for Union Officers to substantiate credit
6    card, their credit card spending?
7          A.     There's -- well, I'll say prior to this year,
8    the only requirement or obligation was that the OL --
9    OLMS and the requirement was to provide receipts and
10   substantiate credit card purchases and document those
11   items.
12         Q.     How do you document them?         How do you document
13   it?   I came over with a credit card, how would I
14   document it --
15         A.     It was done --
16         Q.     -- for a receipt?
17         A.     -- different ways.      Are you talking about for
18   me?
19         Q.     For any of the Officers.
20         A.     Oh.   Just they were provided to the
21   Treasurer's office, the receipts along with the credit
22   card statements.
23         Q.     Is there documentation required on the
24   receipt?
25         A.     Document -- say that again.



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                                                         APPENDIX P. 51
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                         Melissa Chinery      9/14/2021
                                                                     Page 227

1    locate and provide those documents?
2         A.     Yes.
3         Q.     Can you explain the steps taken to ensure what
4    documents -- which documents you had or you have?
5         A.     Well, the subpoenas, there were quite a few.
6    Once we received each -- each requested item, we
7    located them, whether they were in APFA headquarters
8    physically or kept in our document storage, our
9    corporate records storage downtown, and then we'd
10   retrieve them and scan them, organize them, label them,
11   and send them over.
12        Q.     So you're speaking specifically of documents
13   that we requested?
14        A.     That you requested, yes.
15        Q.     Okay.    So this is in response to the subpoena.
16   Are these documents maintained as business records for
17   the Union?
18        A.     Yes.
19        Q.     Talking about my subpoenas, were these
20   compiled from physical copies from your record, the
21   things that we received?
22        A.     Yes.
23        Q.     Okay.    I'm going to present to you some
24   exhibits, so -- and the black book I think it's one --
25   the one that says -- the one you -- yeah, the one -- it



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                         Melissa Chinery      9/14/2021
                                                                     Page 230

1                      MS. CHINERY:       I'm getting you one.
2                      THE ARBITRATOR:       Okay.     Go ahead.
3         Q.     (BY MS. LEE)      Okay.    So the documents that
4    we're going to present right now, you've already agreed
5    are business records for the Union and were compiled
6    from physical -- physical copies of your records.                So
7    move to Exhibit 1.
8         A.     Okay.
9         Q.     Can you talk about that?
10        A.     This is a credit card statement.
11        Q.     Okay.
12        A.     Or corporate card statement.
13        Q.     And then the -- okay.         I want you to flip to
14   the weekly activity report.
15        A.     Weekly, okay.
16        Q.     Okay.    Could you talk about that, what they're
17   supposed to fill out and what it's supposed to look
18   like?
19        A.     This is a weekly report that every rep fills
20   out to substantiate payment of MEA, SAF stipends.
21   There's one for each week and it's basically a time
22   sheet.
23        Q.     Okay.    We're going to move on to -- we're
24   going to move on to number 2 in that same book.
25        A.     Okay.    Is it -- okay.     Now, is it CL 2?



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                                                         APPENDIX P. 53
                    Melissa Chinery's February 23, 2022 Wedding to
                             AFA In-House
       Case 4:22-cv-00430-Y Document         Counsel
                                     56-1 Filed 11/09/22Joe Burns
                                                          Page 54 of 71 PageID 3036




APFA Member - Melissa Chinery (Charging Party Against Plaintiff) and Joe
Burns (AFA In-House Counsel) Photos of Wedding held on February 23,
2022--2 months prior to the Ross Award and 1 month before the Vargas
Award was issued.
 From the Left:
 Larry Salas - APFA National
 Vice-President Josh Black -
 APFA National Secretary Erik
 Harris - APFA National
 Treasurer


                                                               APPENDIX P. 54
Case 4:22-cv-00430-Y Document 56-1 Filed 11/09/22   Page 55 of 71 PageID 3037
         Melissa Chinery's February 23, 2022 Wedding to
                AFA In-House Counsel Joe Burns




                                  Larry Salas - APFA Current
                                  Vice-President




                                                         APPENDIX P. 55
Case 4:22-cv-00430-Y Document 56-1 Filed 11/09/22   Page 56 of 71 PageID 3038
          Melissa Chinery's February 23, 2022 Wedding to
                 AFA In-House Counsel Joe Burns




                                                          APFA National
                                                          Secretary - Josh Black




                                                        APFA National Treasurer
                                                        - Erik Harris




                                                         APPENDIX P. 56
Case Melissa     Chinery's
     4:22-cv-00430-Y          February
                     Document 56-1           23, 2022
                                   Filed 11/09/22 Page 57Wedding
                                                         of 71 PageID to
                                                                      3039
                  AFA In-House Counsel Joe Burns




                   (                    Meiis:sa 11 s Post
                            [LJ Lll<e                      V c;:om me nt




                         Vicki Balistreri and 68 otl ers         7 Comments
 Melissa Chinery-Burns at her wedding in Hawaii on February 2022 - months prior to Ross and Vargas
 Awards being issued.

 On the Left: John Nikides - Board of Director and Base President for APFA
 On the Right: Rick Cangy - Former Board of Director for AFA




                                                                           APPENDIX P. 57
Case 4:22-cv-00430-Y Document 56-1 Filed 11/09/22       Page 58 of 71 PageID 3040
                 Melissa Chinery's February
                23, 2022 Wedding to AFA In-
                 House Counsel Joe Burns




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APFA Member - Melissa Chinery-Burns (Charging Party against Plaintiff) and Joe Burn - AFA
In-House Counsel with Sara Nelson - International President of AFA.

                                     Sarah Nelson - International President of AFA




                                                              APPENDIX P. 58
Case 4:22-cv-00430-Y Document 56-1 Filed 11/09/22          Page 59 of 71 PageID 3041




In the Matter of Arbitration Between__
                                         )
Melissa Chinery                          )
Sandra Lee                               )     RE: Article VII Charges
                                         )     Violations of APFA Constitution
      APFA Charging Party Members        )     and APFA Policy Manual
           (Plaintiff)                   )
                                         )
And                                      )
                                         )
Eugenio Vargas, Former APFA              )
National Treasurer                       )
                                         )
      APFA Charged Party Member          )
           (Defendant)                   )
                                         )
__________________________________

Before:                                  Alternate Article VII Arbitrator Ruben R.
                                         Armendariz



Place and Dates of Hearing:              The Westin Irving Convention Center at Las
                                         Colinas, 400 West Las Colinas Boulevard,
                                         located in the City of Irving, Texas.

                                         September 14, 15 and 16, 2021

Appearances:

      For Charging Party Members:        Melissa Chinery, Representative
                                         Sandra Lee, Representative
                                         Heather Olenjack, Representative

      For Charged Party Member:          Heidi Morgan, Representative
                                         Nena Martin, Representative
                                         Eugenio Vargas, Former National Treasurer




                                                                 APPENDIX P. 59
Case 4:22-cv-00430-Y Document 56-1 Filed 11/09/22                      Page 60 of 71 PageID 3042




                                          INTRODUCTION

        This is an Article VII Hearing that was heard at the Westin Irving Convention Center at
Las Colinas, Irving, Texas on September 14, 15 and 16, 2021. The arbitration hearing was
transcribed by Carson Reporting & Associates.

        Charging Party Melissa Chinery and Sandra Lee, will be hereinafter referred to as the
“Plaintiff.” Charged Party Eugenio Vargas, will be hereinafter referred to as the “Defendant.”

        Plaintiff presented for testimony Former Treasurer and Retired Flight Attendant Cathy
Lukensmeyer, Business Owner Michael Trapp, Former Boston Base President and Flight
Attendant Jennifer McCauley, DFW Base President and Flight Attendant Michael Truan, Flight
Attendant Heather Olenjack, Los Angeles Base President and Flight Attendant John Nikides,
Flight Attendant and National Treasurer Erik Harris, Flight Attendant Christopher Thedford, Flight
Attendant Debbie Hoover, Flight Attendant and National Secretary Josh Black, Flight Attendant
Sandra Lee and Flight Attendant Melissa Chinery.

       Defendant presented for testimony Former Base Council Representative and Flight
Attendant Shane Staples, Flight Attendant Chuck Ransdale, Budget Committee person Yvonne
Johnston, Former National Treasurer Craig Gunter, Former APFA President Marcus Gluth,
Former Board of Director and Miami Base President Randy Trautman and Former National
Treasurer Eugenio Vargas

        All of these witnesses were afforded full opportunity to be heard, to be examined, and to
be cross-examined. The parties were allowed to introduce evidence on the issues. Based on the
entire record, my observation of the witnesses, examination of the evidence, exhibits presented,
post-hearing briefs 1 submitted, and arguments presented therein, this arbitrator makes the
following findings and renders the following Discussion, Opinion, and Award.

                                             THE ISSUES

        The issues presented in the Article VII grievance and heard in this proceeding are described
as follows:

The Plaintiff

       Plaintiff submits the issue to be determined by the Article VII arbitrator is stated as
follows:

       Whether Eugenio Vargas, the Charged Party herein violated the terms of the APFA
Constitution and Policy Manual by;


1
  The parties agreed to submit post-hearing briefs by e-mail to arbruben@gmail.com on November 16, 2021 and
reqeusted an extended to December 31, 2021 and was granted. The post-hearing briefs were timely emailed and
received, thus, the arbitrator finds the record in this matter closed on December 31, 2021.




                                                                              APPENDIX P. 60
Case 4:22-cv-00430-Y Document 56-1 Filed 11/09/22                  Page 61 of 71 PageID 3043



               (1) Violating the Meal Expense Policy?
               (2) Failing to maintain an inventory thereby violating Article III,
                   Section 6.E. of the APFA Constitution by failing to maintain
                   union assets?
               (3) Allowing himself and his fellow National Officers to receive
                   inflated sick and vacation payouts when they were not entitled to
                   such?
               (4) Allowing the payment to former National President Bob Ross
                   thousands of dollars in Meal Expenses Allowance (MEA) and
                   SAF when he was no longer working for APFA?
               (5) Violating the credit card policy by charging a rental car and meals
                   for a trip to Spain?
               (6) And, if so, what should be the appropriate remedy?

The Defendant

        Defendant submits the only issue to be determined by the Article VII arbitrator is stated
as follows;

       (1) Whether Former APFA National Treasurer Eugenio Vargas committed
           the following act(s) was “WILLFUL” violation of an expressed Article
           of the APFA Policy Manual, the APFA Constitution, or of a proper and
           express written resolution or policy of the Board of Directors or
           Executive Committee of the APFA Constitution, as it is set forth in
           Article VII, Section 1.F.
       (2) And if not, what is the appropriate remedy?

                                           THE FACTS

        It is undisputed the charges herein arose from an internal filing of an Article VII grievance
filed by Plaintiff Members Melissa Chinery and Sandra Lee against Defendant Member Eugenio
Vargas, Former National Treasurer.

        Plaintiff alleged Former National Treasurer Eugenio Vargas violated the detailed language
of the APFA expense policy by charging thousands of dollars of unauthorized meals to his APFA
credit card. Vargas charged meals in his city of residence, Dallas Fort Worth (DFW), when he had
no right to meals in his home location, double-dipped when he was receiving per diem out of base,
and claimed actual meals while receiving Guaranteed Meal Allowance. Vargas further violated his
responsibilities as treasurer by routinely authorizing inappropriate payments to other APFA
officers who were committing similar violations of the meal expense policy.

        Plaintiff alleged Former National Treasurer Eugenio Vargas failed to maintain an inventory
and violated Article III Section 6.E. of the APFA Constitution by failing to maintain union assets.
Vargas failed to maintain an inventory of furniture and failed to safeguard union assets as required
by the APFA Constitution. Vargas failed to safeguard tens of thousands of dollars of furniture left
by his and prior administrations. The evidence will show Vargas misappropriated tens of thousands



                                                                          APPENDIX P. 61
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the National Treasurer for the independent auditor’s audit. If not, an adverse inference may be
drawn.

Remedy

       Vargas is to repay APFA for the following:

       1. If after the Independent Auditors audit is completed and he/she determines that
          Vargas had used the APFA credit card for his own personal use on meals during his
          tenure as National Treasurer, Vargas is hereby Ordered to repay APFA for all meals
          he charged to the APFA credit card.
       2. Vargas is prohibited from serving in any APFA National Officer position or Regional
          Officer position for life.
       3. Vargas is hereby fined and Ordered to repay the APFA for half of the Arbitrator’s Fee
          for this arbitration.
       4. The arbitrator shall retain jurisdiction for 90-days over any issue involving this remedy
          only. Moreover, if the Independent Auditor determines any monies are due from
          Vargas, that will be the amount to be assessed or due and the BOD or EC shall Order
          said repayment from Vargas.

                                            AWARD

The grievance is sustained in part and dismissed in part as stated above.

Issued in San Antonio, Texas, the 18th day of February, 2022.




                                                                            APPENDIX P. 62
                         Case 4:22-cv-00430-Y Document 56-1 Filed 11/09/22
                                                                          APFA                                                     Page 63 of 71 PageID 3045

                                              ANNUAL BOARD OF DIRECTORS CONVENTION



                                                                     March 8-10, 2022
                                                        Westin Irving Convention Center at Las Colinas


                               Resolution #: 10




                                                                                     BOS Milenkovic

                                                                                                      CLT Hazlewood



                                                                                                                                    DFW De Roxtra




                                                                                                                                                                                                            PHL Kaswinkel
                                                                                                                                                                                MIA Trautman
                                              Chinery-Lee v Vargas




                                                                                                                                                                  LGA Santana
                          Resolution Name:




                                                                                                                                                    LAX Nikides




                                                                                                                                                                                               ORD Wroble




                                                                                                                                                                                                                                                    Pres Hedrick
                                                                                                                      DCA Pennel
                                              Arbitration Remedy




                                                                                                                                                                                                                              PHX Agee

                                                                                                                                                                                                                                         SFO Ross
                                     Status: Pass
Resolution Information




                                     Maker: Hedrick

                                     Second: Nikides                         YES

                                       Date: 03/10/2022                      NO

                                      Time: 2:55 p.m.                        ABS

                                Affects PM:                                  N/A

                                 Comments:                                    Yes: 10 No: 1 Abstain: 0 Absent: 0 Show of Hands:



                         WHEREAS, APFA Constitution, Article VII provides APFA members a mechanism to hold
                         their representatives accountable through internal hearing procedures facilitated by a neutral
                         third-party arbitrator; and

                         WHEREAS, two such members, Melissa Chinery & Sandra Lee, filed Article VII Charges
                         against previous APFA National Treasurer, Eugenio Vargas, on November 24, 2020; and

                         WHEREAS, these Article VII charges were referred to the designated Article VII Arbitrator,
                         Ruben Armendariz, in accordance with APFA Constitution Article VII, Section 3; and

                         WHEREAS, the Chinery-Lee v Vargas charges were heard on September 14-16, 2021 in Irving,
                         Texas; and

                         WHEREAS, Arbitrator Armendariz rendered a decision in the matter of Chinery-Lee v Vargas
                         on February 18, 2022; and

                         WHEREAS, the remedy states:

                                 “Vargas is to repay APFA for the following:

                                 1. If after the Independent Auditors audit is completed and he/she determines that
                                    Vargas had used the APFA credit card for his own personal use on meals during his


                         Res. # 10                                March 8-10, 2022                                                                                                                                          Page 1 of 2
                                                                                                                                                     APPENDIX P. 63
Case 4:22-cv-00430-Y Document 56-1 Filed 11/09/22 Page 64 of 71 PageID 3046
APFA
BOARD OF DIRECTORS MEETING

            tenure as National Treasurer, Vargas is hereby Ordered to repay APFA for all meals
            he charged to the APFA credit card.

        2. Vargas is prohibited from serving in any APFA National Officer position or Regional
           Officer position for life.

        3. Vargas is hereby fined and ordered to repay the APFA for half of the Arbitrator’s Fee
           for this arbitration.

        4. The arbitrator shall retain jurisdiction for 90-days over any issue involving this
           remedy only. Moreover, if the Independent Auditor determines any monies are due
           from Vargas, that will be the amount to be assessed or due and the BOD or EC shall
           Order said repayment from Vargas.”

    ; and

WHEREAS, the APFA Board of Directors is authorized and empowered to take any and all
lawful action consistent with the Constitution to safeguard and protect the APFA, and the rights,
privileges, duties and responsibilities of the officers, representatives and members of the APFA.

BE IT THEREFORE RESOLVED, the APFA affirms the APFA Article VII Arbitrator’s
decision and remedy and hereby sanctions the following actions:

    1. The APFA Board of Directors hereby orders APFA National Treasurer, Erik Harris, to
       retain an independent auditor to investigate if Vargas had used the APFA credit card for
       his own personal use on meals during his tenure as National Treasurer. Within 30 days of
       completion, the results of this investigation shall be remitted to the Board of Directors for
       review. After this review, the APFA Board of Directors shall order Eugenio Vargas to
       repay APFA for any monies deemed owed by the independent auditor.

    2. The APFA Board of Directors hereby orders the NBC to maintain a record of the
       Chinery-Lee v Vargas Article VII award to ensure Eugenio Vargas name is removed
       from any Willingness-to-Serve that he may submit for life.

    3. The APFA Board of Directors hereby orders Eugenio Vargas to repay APFA $8,623.17
       for the Article VII Arbitrator’s fees. The National Treasurer shall be charged with
       collecting from Vargas consistent with the APFA Constitution, Policy Manual, and any
       applicable Federal, State, and local laws.

    4. Notwithstanding, should any further fees be incurred by the Article VII Arbitrator as it
       relates to the issuance and implementation of the remedy, fifty percent (50%) of such fees
       shall be remitted to Eugenio Vargas for repayment.




Res. # 10                             March 8-10, 2022                                    Page 2 of 2
                                                                          APPENDIX P. 64
8/1/22, 11:03 PM                                            3.24.22 – APFA Receives Article VII Arbitration Awards – APFA
             Case 4:22-cv-00430-Y Document 56-1 Filed 11/09/22                                     Page 65 of 71 PageID 3047




                                                             (https://www.apfa.org/)
                                                         Account (/my-account/) | Log In (/account/login/)



                                            Search here...




    3.24.22 – APFA Receives Article VII Arbitration Awards




    Thursday, March 24, 2022


    On March 19th, Arbitrator Ruben R. Armendariz issued a decision in Article VII charges brought
    under the APFA Constitution and Policy Manual against former APFA National President Bob
    Ross. Arbitrator Armendariz barred Ross from serving in any APFA position for life, ordered Ross
    to resign as San Francisco Base President, ordered Ross to repay APFA a substantial sum of
    money, and ordered an independent audit of certain expenses.


    This decision follows a February 18th, 2022 decision that barred former APFA National Treasurer
    Eugenio Vargas from holding any APFA position for life and fined him half the cost of the
    arbitration, among other remedies.
                                                                                                                            
    Arbitrator Armendariz also ordered sweeping changes in the APFA financial policy, which
    requires training on allowable expenses, and instructed APFA to create a separate body of trained
    forensic accountants. This ruling demonstrates that this organization has spent years operating


https://www.apfa.org/2022/03/24/3-24-22-apfa-receives-article-vii-arbitration-awards/
                                                                                                            APPENDIX P. 65      1/7
8/1/22, 11:03 PM                                            3.24.22 – APFA Receives Article VII Arbitration Awards – APFA
         Case 4:22-cv-00430-Y Document 56-1 Filed 11/09/22 Page 66 of 71 PageID 3048
    without proper financial controls. We have attached the decisions below and encourage all
    members to educate themselves on these issues.


    These charges were brought by APFA members Melissa Chinery and Sandra Lee under Article VII
    of the APFA Constitution. We thank them for bringing these issues forward. The fact that we are
    in this place illustrates the need for more reform. You deserve to have your dues money spent
    according to the strictest financial standards. The dues dollars that allow our union to operate
    and provide our paychecks are your dollars, and we have a fiduciary responsibility to safeguard
    union finances.


    When our administration took office, we supported financial transparency and committed to
    upholding the language that members have the right to review the financial information of the
    union under Article III of the APFA Constitution and federal labor law. Previously, this union has
    prevented members from reviewing all financial documents. Following prior legal advice,
    members were only allowed to view monthly financial reports and the LM-2 reports (our annual
    Department of Labor filing). We believe our past outside attorneys and advisors guided us
    improperly. We will continue to ensure members are not kept in the dark about dues spending.


                    To view the Chinery-Lee v Ross Arbitration Award, please click here
       (https://mcusercontent.com/1450c9c25bd3b5096022a9f71/files/7488c141-524c-97d2-1cd8-
                        53b497ea5173/22_Corrected_Decision_Robert_Ross_1.pdf).


                    To view the Chinery-Lee v Vargas Arbitration Award, please click here
       (https://mcusercontent.com/1450c9c25bd3b5096022a9f71/files/2eb32bb3-8897-24c5-50a7-
                             e8be520735c0/22_Decision_Eugenio_Vargas.pdf).


    Next Steps: Ensuring Financial Transparency and Accountability at APFA


    These decisions are a wake-up call for our entire union. As an independent union, we have no
    parent body to scrutinize our actions and must hold ourselves to the strictest standards. In the
    coming months, we will be reviewing the APFA Policy Manual to further reform APFA’s financial
    policies. We will fully cooperate with Arbitrator Armendariz’s decisions and will draw on the
    expertise of legal and financial experts.


    Financial accountability and transparency have been a priority for our administration. We have
    taken several steps to ensure that APFA is handling your dues dollars responsibly, including:
                                                                                                                            

             Increasing membership visibility into our financial reports, including audits, LM-2 filings,
             monthly financial reports, expense and mileage reports, credit card statements, signed
             contracts and agreements, and payroll registers.

https://www.apfa.org/2022/03/24/3-24-22-apfa-receives-article-vii-arbitration-awards/
                                                                                                            APPENDIX P. 66      2/7
8/1/22, 11:03 PM                                            3.24.22 – APFA Receives Article VII Arbitration Awards – APFA
             Case 4:22-cv-00430-Y Document 56-1 Filed 11/09/22 Page 67 of 71 PageID 3049
             PA/AR removals (flat rate of 5 hours per day) used for all known meetings (such as Board of
             Director’s Meetings and Executive Committee Meetings). PA/AR days are pre-
             planned absences placed onto a union Representative’s schedule before PBS processes and
             count towards the Representative’s PBS award max (Policy Manual 5.C.1.g
             (https://www.apfa.org/members/)).
             Enforcement of the Financial Reform Initiative resolutions passed at the March 2021 APFA
             Annual Convention, which included the following updates to the APFA Policy Manual:
                   Resolution #8- APFA Issued Credit Cards
                   (https://mcusercontent.com/1450c9c25bd3b5096022a9f71/files/33410129-1e48-
                   4d7f-9286-
                   9085e19b3a86/2021_Conv_08_APFA_Issued_Credit_Cards.01.pdf) creates a new
                   section 5.L in the Policy Manual and limits APFA credit card usage to National Officers.
                   It also requires accountability by ensuring that another National Officer has to sign off
                   on charges, requires strict documentation of all charges, and implements twice-yearly
                   reviews of credit card activity by the Budget Committee. At least one (1) random audit
                   will be performed by the Budget Committee every six (6) months to ensure proper
                   spending, and training on the policy will be required by all incoming National Officers.
                   Resolution #9- APFA Apartments
                   (https://mcusercontent.com/1450c9c25bd3b5096022a9f71/files/c4308b62-2a91-
                   4601-ad04-cfb5a33d7e1a/2021_Conv_09_APFA_Apartments.01.pdf) puts more
                   stringent guidelines on spending and inventory for APFA provided apartments. The
                   Budget Committee shall maintain a table of the approved costs for purchasing new or
                   replacement items. It adds a new inventory system to track all items belonging to
                   APFA.
                   Resolution #10- Business Related Meals
                   (https://mcusercontent.com/1450c9c25bd3b5096022a9f71/files/ce5361e7-6fd8-
                   4da8-8b5c-17d7420fab2d/2021_Conv_10_Business_Related_Meals.01.pdf) adds
                   policy for group meals to ensure compliance with the Labor-Management Reporting
                   and Disclosure Act of 1959 (LMRDA) regarding meals purchased using an APFA credit
                   card. All meal charges must be accompanied by a written explanation of the
                   specific union business conducted during the meal and the full names and titles of all
                   attendees.
                   Resolution #11- Rental Car Policy & APFA Provided Transportation
                   (https://mcusercontent.com/1450c9c25bd3b5096022a9f71/files/3f9e49a6-7fe8-
                   421b-aaed-
                   2a21da0f9494/2021_Conv_11_Rental_Car_Polilcy_APFA_Provided_Transportion.01.p                             
                   df) adds language that any APFA Representative on union business in DFW should
                   make every effort to utilize APFA-owned vehicles before using a taxi, rental cars, or
                   other paid forms of transportation. This resolution also revises, further defines, and
                                  olicy Manual Section 5.H.4 by limiting rental car usage by incoming

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                                                                                                            APPENDIX P. 67      3/7
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                  National Officers to thirty (30) days, except in extenuating circumstances and only
                  upon approval from the APFA Executive Committee.
                  Resolution #12- National Officer Relocation
                  (https://mcusercontent.com/1450c9c25bd3b5096022a9f71/files/f2c34cd8-f670-
                  44fd-b288-
                  741a6b9fac5f/2021_Conv_12_National_Officer_Relocation.01.pdf) updates the
                  amount allowed for a National Officer to move to DFW. Instead of offering $10,000
                  round trip for a move to DFW, the Budget Committee shall maintain a table of
                  approved relocation costs. Relocation reimbursement may be provided in accordance
                  with the table.This resolution also limits the time in which a National Officer must
                  decide to move to DFW or take an APFA provided apartment. This change allows the
                  National Officer three (3) months from the election date to make their decision.
                  This resolution also limits the amount of time a National Officer may reside in a hotel
                  while deciding to move to DFW or take an APFA apartment. If a National Officer elects
                  to live in an APFA apartment while in DFW, they will not be paid moving expenses if
                  they suddenly change their mind and decide to relocate to DFW.


                      Resolution #13- Collection of Non-Dues Related Monies Owed by APFA
                      Representatives
                      (https://mcusercontent.com/1450c9c25bd3b5096022a9f71/files/82664914-049c-
                      4ad0-92a7-
                      580d909aa465/2021_Conv_13_Collection_of_Funds_from_APFA_Representatives.01.
                      pdf) adds a new section to the APFA Policy Manual, Section 7.J. It states that
                      Representatives owing non-dues related monies to APFA will receive written
                      notification from the National Treasurer and ensures payment or a payment plan
                      within thirty (30) days of receipt of such notification. If no payment is received, the
                      monies will be sent to a collection agency.
                      Resolution #14- Resignation or Recall of a National Officer
                      (https://mcusercontent.com/1450c9c25bd3b5096022a9f71/files/901dadb6-fdd1-
                      4990-bd05-
                      b639a67cb8d1/2021_Conv_14_Resignation_or_Recall_of_a_National_Officer.01.pdf)
                      adds new language. Before this resolution, APFA had no written policy or procedure
                      outlining pay and benefits for a resigning or recalled National Officer. This resolution
                      adds a new Section 6.E to the APFA Policy Manual outlining the pay and benefits for a
                      resigning or recalled National Officer and will remove the possibility of any future
                      National Officer exit agreements.                                                                     



https://www.apfa.org/2022/03/24/3-24-22-apfa-receives-article-vii-arbitration-awards/
                                                                                                            APPENDIX P. 68      4/7
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    We will continue to review policies that have been in place for many years and make the changes
    necessary to ensure APFA is compliant with the Office of Labor-Management Standards (OLMS),
    the Labor-Management Reporting and Disclosure Act of 1959 (LMRDA), and the Internal
    Revenue Service (IRS) standards for labor unions.


    In Solidarity,




    Julie Hedrick
    APFA National President



    Posted in Hotlines - 2022 (https://www.apfa.org/category/hotline-archives/hotlines-2022/) and
    tagged National President (https://www.apfa.org/tag/national-president/)




                                         1004 West Euless Boulevard
                                         Euless, Texas 76040

                                         Phone: (817) 540-0108 (tel:817-540-0108)
                                         Fax: (817) 540-2077 (tel:817-540-2077)



                                         Headquarters
                                         M-F: 9:00AM - 5:00PM (CT)

                                         APFA Phone Reps
                                         M-F: 7:00AM - 7:00PM (CT)

                                         After-Hours Live Chat
                                         M-F: 3:00PM - 11:00 PM (CT)
                                         Sat-Sun: 9:00AM - 5:00PM (CT)




                                         APFA Events                                                                        

                                         2022 Fall Board of Directors Meeting
                                         (https://www.apfa.org/event/2022-fall-board-of-
                                         directors-meeting/)
https://www.apfa.org/2022/03/24/3-24-22-apfa-receives-article-vii-arbitration-awards/
                                                                                                            APPENDIX P. 69      5/7
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                              October 25 @ 9:00 am - October 27 @ 5:00 pm


                                         Employee Number

                                            95108


                                         Password

                                            •••••••


                                            Log In

                                         Register (https://www.apfa.org/account/register-
                                         reset-password/)


                                         (https://www.facebook.com/APFAunity)
                                                                                                   
                                            (https://twitter.com/APFAunity)
                                                                                         
                                            (http://www.linkedin.com/company/associatio
                                                                                                               
                                            n-for-professional-flight-attendants)

                                            (http://www.youtube.com/user/AAflightattend
                                                                                                               
                                            ants)

                                            (https://www.instagram.com/apfaunity)
                                                                                                     
                                         Site Map (/sitemap/)
                                         Privacy Policy (https://www.apfa.org/privacy-
                                         policy/)
                                         Terms of Use (/terms-of-use/)
                                         Jobs (/jobs/)


                                         Wings Foundation
                                         (http://www.wingsfoundation.com/)                                                  
                                         Airline Ambassadors (http://www.airlineamb.org/)
                                         UNICEF/Change for Good
                                         (http://www.unicefusa.org/campaigns/changeforg
                                         ood/)
                                         APA (http://www.alliedpilots.org/)
https://www.apfa.org/2022/03/24/3-24-22-apfa-receives-article-vii-arbitration-awards/
                                                                                                            APPENDIX P. 70      6/7
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                              TWU (http://www.twu.org/)/IAM
                              (https://www.goiam.org/)
                              CWA (https://www.cwa-union.org/)-IBT
                              (https://teamster.org/)




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                                                theme&utm_campaign=theme-footer)




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                                                                                                            APPENDIX P. 71      7/7
